                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:12-00076
                                                   )      JUDGE CAMPBELL
ALLEN WALKER, et al.                               )

                                           ORDER

       The Court held a status conference in this case on February 24, 2014. At the conference,

the Court scheduled a change of plea hearing for Defendant Megan Johnson only for March 10,

2014, at 1:00 p.m.

       Any proposed plea agreement shall be submitted to the Court by March 7, 2014.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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